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13                             UNITED STATES DISTRICT COURT
14                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
15    UNITED STATES OF AMERICA,                 No. CR 24-236(A)-SPG-1
16               Plaintiff,                     GOVERNMENT’S BRIEF IN SUPPORT OF
                                                PRETRIAL DETENTION FOR DEFENDANT
17                     v.                       JASVEEN SANGHA; EXHIBIT A
18    JASVEEN SANGHA,
        aka “the Ketamine Queen,”
19
                 Defendant.
20

21
            Plaintiff United States of America, by and through its counsel
22
      of record, the United States Attorney for the Central District of
23
      California and Assistant United Attorneys Ian V. Yanniello and
24
      Haoxiaohan Cai hereby files its brief in support of detaining
25
      defendant Jasveen SANGHA based on risk of nonappearance and defendant
26
      SANGHA’s significant danger to the community if she remains on bond.
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1          This filing is based upon the attached memorandum of points and
2     authorities, the attached Exhibit A, the files and records in this
3     case, and such further evidence and argument as the Court may permit.
4
       Dated: August 15, 2024               Respectfully submitted,
5

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1                         MEMORANDUM OF POINTS AND AUTHORITIES

2     I.    INTRODUCTION

3           This morning, the government unsealed the First Superseding

4     Indictment (“FSI”), which alleges that defendant SANGHA --- known to

5     her customers as the “Ketamine Queen” --- engaged in a half-decade

6     long drug business selling methamphetamine, ketamine, and other drugs

7     to countless drug buyers.       The FSI alleges that defendant is linked

8     to at least two drug overdose deaths and, given the volume of drugs

9     defendant sold, there are likely more victims.            In August 2019,
10    defendant distributed ketamine to Victim C.M., who died of a drug
11    overdose within a day.      In October 2023, defendant worked with co-
12    conspirators to sell ketamine to Victim M.P., which resulted in
13    M.P.’s overdose death on October 28, 2023.             To cover up her criminal
14    activity, defendant took steps to obstruct justice, including
15    instructing a co-conspirator to delete text messages.
16          Two deaths did not deter defendant. To the contrary, when law
17    enforcement executed a search warrant at her residence months after
18    Victim M.P.’s death, in March 2024, agents seized multiple pounds of

19    methamphetamine pills, 79 vials of ketamine, fraudulently obtained

20    pharmaceutical pills and other illegal drugs.

21          On March 21, 2024, defendant was released on a $100,000 bond

22    after an initial appearance on a complaint alleging defendant’s March

23    2024 conduct -- that she possessed with intent to distribute

24    methamphetamine, in violation of 21 U.S.C. § 841(a)(1).

25          After additional investigation uncovered the full scope of

26    defendant’s drug trafficking, a federal grand jury returned a First

27    Superseding Indictment (“FSI”) charging her with ten felony counts,

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1     including maintaining a drug involved premises and distribution of

2     ketamine resulting in death.

3           In light of the FSI and new material information, the government

4     requests the Court reopen detention hearings, vacate defendant’s bond

5     order and order that defendant be detained pending trial.

6     II.   BACKGROUND

7           A.      The Complaint Is Filed After Executing a Search Warrant At

8                   Defendant’s Residence

9           On March 19, 2023, investigators executed a federal search
10    warrant at defendant’s apartment in North Hollywood, California (the
11    “SANGHA Stash House”).      (Dkt. 1.)    Upon executing the warrant, agents
12    found a significant quantity of illegal drugs, including
13    approximately 3 pounds of counterfeit pills containing
14    methamphetamine, 79 vials of ketamine, 1 ketamine powder, 2,127 grams
15    of Xanax pills, psilocybin mushrooms, and cocaine.             (Dkt. 1 at 5, 7.)

16    At the time, defendant also possessed drug trafficking tools, such as

17    a money counter, a scale covered in drug residue, a signal and hidden

18    camera detector, and other drug paraphernalia, a drug ledger, and a

19    firearm registered to defendant’s boyfriend.            (Id. at 5.)

20              At the time of her initial appearance, agents had only done a

21    preliminary review of defendant’s phones and the true scope of her

22    dealing was unknown.      That review showed numerous threads with

23    customers on an encrypted messaging application, Signal where she

24    discussed selling drugs. (Id. at 7.)         Defendant saved videos

25    recording herself “cooking” liquid ketamine on a stove top to convert

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27
            1As alleged in the FSI, co-conspirator Fleming was charging
28    $180 per vial for defendant’s ketamine, meaning that the 79 vials
      alone were worth approximately $14,220.
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1     it to powder form.      (Id. at 8.)    And she had Signal conversations

2     with a ketamine buyer discussing shipping vials of ketamine, where

3     defendant sent photos of the ketamine packaging and a photo of the

4     shipping receipt, on March 18, the day before search warrant

5     execution, promising the buyer, “I think you’ll like these but

6     remember they’re double strength.”         (Id. at 7.)

7           B.    The Initial Detention Hearing

8           Defendant made an initial appearance on the complaint on March

9     21, 2024.    In connection with the case, the government initially
10    filed a notice of request for detention.           (Dkt. 3.)    Because the
11    government’s investigation as to defendant’s additional crimes was
12    ongoing, and the only charge was the March 19th possession with
13    intent to distribute methamphetamine, the government stipulated to
14    pretrial release for defendant.        The Honorable Jacqueline Chooljian,
15    United States Magistrate Judge, ordered defendant released on a
16    $100,000 bond signed by her mother, and other conditions. (Dkt. 4.)
17          C.    The Original Indictment
18          On April 9, 2024, a grand jury returned an indictment against

19    defendant, charging her with distribution of ketamine on March 18,

20    2024, for shipment of ketamine via the mail, to a drug customer, one

21    count of possession with intent to distribute methamphetamine and one

22    count of possession with intent to distribute ketamine, for the drugs

23    found at the SANGHA Stash House found on March 19, 2024. (Dkt. 14.)

24          D.    The Continued Investigation Revealed the Scope of
                  Defendant’s Drug Trafficking Activities, Including Her
25                Connection to At Least Two Overdose Deaths
26          Yesterday, the grand jury returned a First Superseding
27    Indictment that charges defendant with ten felony counts, including
28    five counts of distribution of ketamine, including one count of
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1     distribution resulting in death or serious bodily injury, in

2     violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(E)(i), one count of

3     conspiracy to distribute ketamine, in violation of 21 U.S.C. § 846,

4     one count of possession with intent to distribute ketamine, in

5     violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(E)(i), one count of

6     possession with intent to distribute methamphetamine, in violation of

7     21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii), and one count of maintaining

8     a drug involved premises --- i.e., the SANGHA Stash House, in

9     violation of 21 U.S.C. § 856. The FSI outlines the following:
10          Since at least 2019, defendant has operated a drug stash house

11    and large-scale trafficking operation.          Although the government knew

12    that defendant possessed drugs at her apartment in March 2024, it was

13    only upon further review of defendant’s phones that investigators

14    learned the full extent of her drug dealing from that location.                For

15    at least five years prior to arrest, defendant used the SANGHA Stash

16    House as a place where she sells, packages, and manufactures drugs --

17    since approximately June 2019, as alleged in Count Two of the FSI.

18    Although she also sold methamphetamine and other drugs like magic

19    mushrooms, defendant’s specialty was ketamine, which she routinely

20    sold, holding herself out as a celebrity drug dealer with high

21    quality goods.

22          Defendant dealt deadly ketamine to Victim M.P. and Has Been

23    Charged with his Death. The FSI alleges that defendant was the deadly

24    source of ketamine that resulted in Victim M.P.’s death on October

25    28, 2023.     Beginning in October 2023, defendant worked with co-

26    conspirator Erik Fleming to sell vials of ketamine to Victim M.P. and

27    co-conspirator Kenneth Iwamasa, Victim M.P.’s live in assistant.                In

28    hopes of cementing the first sale to Victim M.P., defendant told co-
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1     conspirator Fleming to pass on the word that defendant’s ketamine was

2     “unmarked but it’s amazing,” referring to the fact that because the

3     ketamine did not come from a legitimate source, the vials would not

4     have any labels on the outside.        Defendant directed co-conspirator

5     Fleming to drop off cash at the SANGHA Stash House, where she would

6     then provide ketamine to co-conspirator Fleming for delivery.

7     Defendant distributed ketamine for Victim M.P.’s use on at least

8     three occasions, including on October 24, 2023, when she updated co-

9     conspirator Fleming that the ketamine was delayed but on the way from
10    her supplier --- a person she called the “scientist,” or “master
11    chef.”
12          Meanwhile, co-conspirator Iwamasa was injecting Victim M.P. with
13    ketamine on a daily basis.       On October 28, 2023, co-conspirator
14    Iwamasa injected Victim M.P. using the ketamine provided by
15    defendant, resulting in Victim M.P.’s death.
16          Defendant attempted to destroy evidence relating to Victim M.P.

17    Later that same day, after news media reported on Victim M.P.’s

18    passing, defendant contacted co-conspirator Fleming over Signal.

19    Defendant set the setting on the Signal conversation thread to make

20    all messages to disappear within one hour, and directed co-

21    conspirator Fleming to “Delete all our messages.”

22          Two days after Victim M.P.’s death, co-conspirator FLEMING

23    texted defendant that he “got more info” that he was “90% sure that

24    everyone is protected,” and that they could blame co-conspirator

25    Iwamasa.    Co-conspirator Fleming also advised that “they are doing a

26    3 month tox screening,” and asked defendant “Does K stay in your

27    system or is it immediately flushed out”?

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1           Defendant Knew About Ketamine’s Deadly Potential Because Victim

2     C.M. had Previously Overdosed.        Defendant already knew the answer to

3     co-conspirator Fleming’s question.         Defendant had previously

4     researched ketamine deaths in connection with the overdose of another

5     one of her ketamine clients, Victim C.M.           On August 26, 2019, nearly

6     four years prior, defendant sold ketamine to Victim C.M., who took

7     the ketamine and died of a drug overdose later that same day.               After

8     Victim C.M.’s passing, a family member of Victim C.M. sent a text

9     message to defendant, stating: “The ketamine you sold my brother
10    killed him.    It’s listed as the cause of death.”           After receiving
11    that message, defendant then confirmed that ketamine can in fact kill
12    by conducting a Google search for “can ketamine be listed as a cause
13    of death[?]”    Rather than stop her operation after Victim C.M.’s
14    death, defendant continue to deal out of the SANGHA Stash Location
15    and continued to sell ketamine even after Victim M.P. died in 2023,
16    until she was apprehended in 2024.
17    III. Legal Standard

18          A.    Presumption Of Detention in Drug Trafficking Cases

19          Under the Bail Reform Act of 1984, 18 U.S.C. § 3141 et seq., the

20    court must hold a detention hearing to determine “whether any

21    condition or combination of conditions . . . will reasonably assure

22    the appearance of [defendant] as required and the safety of any other

23    person and the community.” 18 U.S.C. § 3142(f). Detention is

24    appropriate where a defendant is either a danger to the community or

25    a flight risk; it is not necessary to prove both.             See 18 U.S.C. §

26    3142; United States v. Motamedi, 767 F.2d 1403, 1406 (9th Cir. 1985).

27          Where the defendant is charged with an offense under the

28    Controlled Substances Act with a maximum term of imprisonment of ten
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1     years or more, “there is a rebuttable presumption” that defendant

2     poses a flight risk and danger.         United States v. Hir, 517 F.3d 1081,

3     1086 (9th Cir. 2008) (quoting 18 U.S.C. § 3142(e)).                The burden of

4     production shifts to the defendant to rebut the presumption of

5     dangerousness.     Id.    If the defendant proffers evidence to rebut the

6     presumption, the court considers four factors: “(1) the nature and

7     circumstances of the offense charged,” “(2) the weight of the

8     evidence against the person; (3) the history and characteristics of

9     the person,” and (4) danger to the community.               Id.   But the
10    “presumption is not erased when a defendant proffers evidence to

11    rebut it; rather the presumption ‘remains in the case as an

12    evidentiary finding militating against release, to be weighed along

13    with other evidence relevant to factors listed in § 3142(g).’” Id.

14          Under the Bail Reform Act, the court may revisit detention and

15    reopen proceedings “at any time before trial” if the court finds that

16    “information exists that was not known to the movant at the time of

17    the hearing and that has a material bearing” on a defendant’s risk of

18    flight or danger. 18 U.S.C. § 3142(f)(2).               “Generally, once a

19    detention hearing is reopened, it is reopened to allow the court to

20    receive any information, within reason, not submitted at the initial

21    hearing, allowing the new information to be considered in context.”

22    United States v. Terrone, 454 F. Supp. 3d 1009, 1017 (D. Nev. 2020).

23    IV.   DEFENDANT IS A DANGER AND FLIGHT RISK AND MUST BE DETAINED

24          PENDING TRIAL

25          A.    Defendant Is Presumed to Be a Flight Risk and Danger

26          Two of defendant’s felonies trigger the presumption for

27    detention under 18 U.S.C. § 3142(e).          Specifically, Count Thirteen

28    charges her with distribution of ketamine resulting in death and
     Case 2:24-cr-00236-SPG   Document 38 Filed 08/15/24   Page 10 of 12 Page ID
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1    serious bodily injury, which carries a 15 year statutory maximum

2    sentence, and Count Fifteen, charges possession with intent to

3    distribute methamphetamine, with a maximum sentence of life

4    imprisonment.   Defendant cannot rebut this presumption.

5         B.    Defendant Poses a Danger Due to Her High-Volume,
                Continuous, and Profit-Seeking Drug Trafficking
6
          Defendant has been dealing drugs from the SANGHA Stash House
7
     since at least 2019.     Defendant’s drug trafficking continued unabated
8
     during that half-decade, with defendant blithely indifferent to the
9
     fact that her ketamine contributed to the overdose deaths of Victim
10
     C.M. in 2019 and Victim M.P. in 2023.       Due to the high volume and
11
     long history of defendant’s drug dealing, the government is
12
     continuing to investigate whether other victims exist.
13
          There are troubling signs that defendant may be continuing to
14
     deal drugs while on pretrial release.       For one, defendant continues
15
     to reside at the SANGHA Stash House, from where she has long
16
     conducted her drug business.      It is unclear how defendant is
17
     financing the property or her current lifestyle.         Defendant rents the
18
     SANGHA Stash House for thousands of dollars per month, but, as
19
     reported by pretrial services, defendant SANGHA has been unemployed
20
     since 2019 (prior to which she claimed to have been self-employed as
21
     an “artist and singer” who did “art shows”) and remains unemployed
22
     since her initial detention hearing.       Defendant was driving a rented
23
     Range Rover at the time of the initial hearing, and she is now
24
     leasing a 2024 BMW.      Despite defendant’s period of unemployment
25
     (which notably ran concurrent to her operation of the SANGHA Stash
26
     Location, i.e., 2019 to 2024) defendant claimed to earn thousands of
27
     dollars in income a month.
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1         Moreover, as recently as July 24, 2024, defendant posted a photo

2    to social media wearing a bracelet with the word “MUSHY” and several

3    mushroom charms.    (See Exhibit A.)     Notably, defendant was arrested

4    in March 2024 at the SANGHA Stash Location with magic mushrooms.              And

5    on the photo, defendant added text that reads: “Pulling out the old

6    raver candy,” and “#ravetothegrave,” suggesting that she cannot be

7    stopped and will persist in her drug lifestyle until death –– a

8    callous choice of words, considering that her actions have sent two

9    victims to theirs. (Id.)
10        C.    The Weight of the Evidence Supporting the Charges in the
                First Superseding Indictment Creates a Significant Risk
11              that Defendant Will Flee
12        As a threshold matter, defendant’s sentencing exposure in this
13   case creates a significant risk that defendant --- a dual citizen of
14   the U.S. and the United Kingdom --- will flee to avoid prosecution.
15   Count Fifteen alone carries a mandatory minimum sentence of 10 years.
16   Because defendant’s drug trafficking activities are linked to at
17   least two deaths, she will not be safety-valve eligible and will
18   likely face significantly more custodial time.
19        The strength of the government’s case is also a basis to believe
20   defendant will flee.      Ketamine seized from the SANGHA stash location
21   in March 2024 matched bottles defendant distributed to Victim C.M.
22   and Victim M.P.    Despite defendant’s best efforts, she was not able
23   to totally destroy digital evidence, and the government has the very
24   text message showing her attempted spoliation.         Co-conspirator
25   Fleming, who has pleaded guilty to his role in the conspiracy and
26   agreed to cooperate against defendant, would testify that defendant
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1    was his drug source. 2    Co-conspirator Iwamasa, who has also pleaded

2    guilty and agreed to cooperate, would testify that it was ketamine

3    that he received from co-conspirator Fleming that killed Victim M.P. 3

4         D.    Defendant Obstructed Justice and Has The Means to Flee

5         Defendant’s directions to co-conspirator Fleming to delete

6    evidence after Victim M.P.’s death shows that she is willing to

7    obstruct justice to evade responsibility for her crimes.           Her conduct

8    evinces a disregard of the law, which include the Court’s orders to

9    appear for a trial where the evidence against her is overwhelming.
10        Based on defendant’s lifestyle and spending, she has the
11   financial means to flee.     Moreover, although defendant had her
12   passports confiscated by law enforcement, she holds British
13   citizenship, and has a lengthy history of international travel,
14   including repeated trips to Mexico, Spain, and Dubai, as well as
15   trips to Canada, China, Japan, Italy, Greece, South America, Dubai,
16   France, and Antigua.
17   V.   CONCLUSION
18        For the foregoing reasons, the government respectfully requests

19   that this Court reopen detention proceedings against defendant and

20   order that defendant be detained pending trial.

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          2 United States v. Erik Fleming, 24-CR-417-SPG.
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          3 United States v. Kenneth Iwamasa, 24-CR-408-SPG.
